July 02, 2004


Mr. Thomas E. Sheffield
3027 Marina Bay Drive, Suite 207
League City, TX 77573
Mr. William D. Noel
8200 Wednesbury Lane, Suite 420
Houston, TX 77074-2925

RE:   Case Number:  02-0320
      Court of Appeals Number:  06-01-00010-CV
      Trial Court Number:  18,395

Style:      MIDTEXAS PIPELINE COMPANY
      v.
      WILBERT O. DERNEHL, JR. AND THE FIRST NATIONAL BANK OF BELLVILLE

Dear Counsel:

      Today the Supreme Court of Texas delivered the enclosed  opinions  and
judgment in the above  referenced  cause.   One  majority  opinion  and  one
concurring opinion issued for consolidated cases 02-0213, 02-0214,  02-0215,
02-0216, 02-0217, 02-0320, 02-0321, 02-0326, and 02-0356.  (Justice  O'Neill
and Justice Schneider not sitting.)
      Encl.
                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Nancy J. Vega, Chief Deputy Clerk

|cc:|Mr. Harvey       |
|   |Vornsand         |
|   |Ms. Linda Rogers |

